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                                                                                                                                            Zoning and Land Use

                                                                                                                                            Tax Lots

                                                                                                                                            Zoning Districts

                                                                                                                                             Commercial Districts

                                                                                                                                             Manufacturing Districts

                                                                                                                                             Residence Districts

                                                                                                                                             Parks

                                                                                                                                             Battery Park City

                                                                                                                                            Commercial Overlays

                                                                                                                                             C1-1 through C1-5

                                                                                                                                             C2-1 through C2-5



                                                                                                                                            Basemaps

                                                                                                                                            Subways

                                                                                                                                            Building Footprints




  500 ft




INDIVIDUAL LANDMARK                                                                                    Add Another Tax Lot for Comparison

97 EAST END AVENUE, 10028
                                                                                                 TAX LOT | BBL 1015920001
Manhattan (Borough 1) | Block 1592 | Lot 1




Zoning District:              PARK



INTERSECTING MAP LAYERS                   :             Owner Type               City
  Historic District Individual Landmark                 Owner                    Show Owner
  FRESH Zone                                            Land Use                 Open Space & Outdoor Recreation
  Waterfront Block                                      Lot Area                 634,000 sq ft
  Coastal Zone
                                                        Lot Frontage             999.67 ft
  Flood Zone Effective Flood Insurance Rate Maps 2007
                                                        Lot Depth                387.42 ft
  Flood Zone Preliminary Flood Insurance Rate Maps 2015
                                                       Year Built                1801
                                                        Year Altered             1965
ZONING DETAILS:
                                                        Building Class           Outdoor Recreation Facilities - Parks/Recreation
  Digital Tax Map                                                                Facilities ( Q1 )
  Zoning Map: 9a (PDF)                                  Number of Buildings      4
  Historical Zoning Maps (PDF)
                                                        Number of Floors         2
                                                        Gross Floor Area         7,500 sq ft
                                                        Total # of Units         1
                                                        Building Info                 BISWEB
                                                        Property Records              View ACRIS
                                                        Housing Info               View HPD's Building, Registration & Violation
                                                                                 Records
                                                        Community District            Manhattan Community District 8
                                                        City Council District         Council District 5
                                                        School District          02
                                                        Police Precinct          19
                                                        Fire Company            E022
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                                                        Sanitation Borough      1
                                                                                                                                                                       Privacy - Terms
                                                        Sanitation District      08
